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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

                                                   :
 Paul Throndson, on behalf of himself and all      :       Case No. 2:19-cv-01789-MHW-CMV
 others similarly situated,                        :       Judge Watson
                                                   :       Magistrate Judge Vascura
        Plaintiff,                                 :
                                                   :
                v.                                 :
                                                   :
 Huntington National Bank,                         :
                                                   :
                Defendant.                         :
                                                   :

                                 STIPULATION OF DISMISSAL

       Plaintiff Paul Throndson and Defendant The Huntington National Bank hereby stipulate to

the dismissal of this action with prejudice, with each party to bear its own attorneys’ fees and costs.

       So Stipulated.

Dated: August 3, 2021                         Respectfully submitted:

 /s/ Avi R. Kaufman                               /s/ Scott A. King
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